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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

JOHN HANCOCK LIFE INSURANCE                           )
COMPANY (U.S.A.) f/k/a Manufacturers                  )
Life Insurance Company,                               )
                                                      )
                               Plaintiff,             )
                                                      )
       v.                                             )      Case No.: 4:18-cv-02869
                                                      )
THE ESTATE OF JENNIFER LAUREN                         )
WHEATLEY, et al.,                                     )
                                                      )
                               Defendants.            )

     CONSENT MOTION FOR EXTENSION OF TIME TO SUBMIT BRIEFS AND
                        RELEVANT EXHIBITS

       Defendant, The Estate of Jennifer Lauren Wheatley, Deceased, respectfully moves the

Court for an extension of time, up to and including June 24, 2020, in which to submit briefs and

relevant exhibits. In support of its motion, Defendant states as follows:

       1.        The Estate of Jennifer Lauren Wheatley, Deceased, seeks an extension of two (2)

   days, up to and including Wednesday, June 24, 2020, in which to file Briefs and Exhibits.

       2.        Counsel for Defendant has discussed the requested extension with the counsel for

   Defendant Ward and John Hancock Life Insurance Company (U.S.A.) f/k/a Manufacturers

   Life Insurance Company, both of whom consent to the requested extension.

WHEREFORE, Defendant respectfully requests that the Court grant its Motion and enter an

Order extending the time in which to file its Briefs and Exhibits up to and including Wednesday,

June 24, 2020.




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Dated: June 22, 2020                     RESPECTFULLY SUBMITTED,

                                          /s/ M. Douglas Berry

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                                         Jennifer Lauren Wheatley




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                                CERTIFICATE OF SERVICE

The undersigned hereby certifies that on this 22nd day of June 2020, the foregoing was served
upon all counsel of record through CM/ECF.


                                            /s/ M. Douglas Berry
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